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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION



IN RE: ALEXANDER E. JONES,                            Case No. 22-33553 (CML)

                                                      Chapter 7
                   Debtor,


Alexander E. Jones, as debtor and as alleged
owner and sole Manager of Free Speech
Systems, LLC
                                                      Case No. 24-03238 (CML)
                   Plaintiffs,
                                                      Adversary Proceeding
 vs.

Christopher Murray, as the Chapter 7 Trustee
and Global Tetrahedron, LLC, Mark Barden,
Jacqueline Barden, Francine Wheeler, David
Wheeler, Ian Hockley, Nicole Hockley,
Jennifer Hensel, William Aldenberg,
William Sherlach, Carlos M. Soto, Donna
Soto, Jullian Soto-Marino, Carlee Soto
Farisi, Robert Parker and Erica Ash

                   Defendants.


                            CONNECTICUT FAMILIES’
                     CONSOLIDATED WITNESS AND EXHIBIT LIST

Judge                     Hon. Christopher M. Lopez
Hearing Date              Monday, December 9, 2024
Hearing Time              1:00 p.m. (CT)
Party’s Name              Connecticut Families (as defined below)
Attorney’s Names          Ryan Chapple, Kyle J. Kimpler, Paul A. Paterson, Alinor Sterling
                          (Connecticut Families)
Attorney’s Phone          512-477-5000 (Ryan Chapple)




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Nature of Proceeding       Trustee’s Expedited Motion for Entry of an Order in Furtherance of the
                           Sale of Assets of Free Speech Systems, LLC [22-33553, Dkt. 915]

       David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian

Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,

William Aldenberg, William Sherlach, Robert Parker, and Erica Ash (collectively, the

“Connecticut Families”) hereby submit this Consolidated Witness and Exhibit List (“Witness and

Exhibit List”) in connection with the hearing on the Trustee’s Expedited Motion for Entry of an

Order in Furtherance of the Sale of Assets of Free Speech Systems, LLC [22-33553, Dkt. 915], to

be held on Monday, December 9, 2024, at 1:00 p.m. (Central Time).

       The Connecticut Families reserve the right to supplement, amend, or revise this Witness

and Exhibit List at any time prior to the hearing. The Connecticut Families reserve the right to

supplement the Witness and Exhibit List with new witnesses and additional exhibits. Further, the

Connecticut Families reserve the right to use any exhibits presented by any other party and to ask

the Court to take judicial notice of any document. The Connecticut Families further reserve the

right to introduce exhibits previously admitted.

                                          WITNESS LIST

       The Connecticut Families may call the following witnesses at the hearing:

       1.      Any witness necessary to rebut the testimony of any witness called or designated
               by any other parties;
       2.      Any witness listed or called by any other party.
                                          EXHIBIT LIST

       The Connecticut Families may offer for admission into evidence any of the following

exhibits at the hearing:




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                                                                   Admitted/   Disposition
  No.            Description            Offered      Objection       Not
                                                                   Admitted
        Any document or pleading
        filed in the above-captioned
        cases or in In re: Free
        Speech Systems LLC, Case
        No. 22-60043 (CML)

        Any exhibits identified or
        offered by any other party

        Any exhibits necessary for
        impeachment and/or rebuttal
        purposes




                         [Remainder of page intentionally left blank]




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Respectfully submitted this 5th day of December 2024.

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                                                   Co-Counsel to the Connecticut Families




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit List has
been served on counsel for the Debtor, Debtor, and all parties receiving or entitled to notice through
CM/ECF on this 5th day of December 2024.


                                               /s/ Ryan E. Chapple
                                               Ryan E. Chapple




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